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     Telephone: (559) 237-6000
 4
     Attorney for Defendant, BOUAVONE KEOMOUNEPANE
 5
 6
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,   )              CASE NO. 1:07-cr-00268-OWW
                                 )
11        Plaintiff,             )
                                 )              STIPULATION AND
12      v.                       )              ORDER TO
                                 )              CONTINUE SENTENCING
13   BOUAVONE KEOMOUNEPANE,      )
                                 )
14         Defendant.            )
     ____________________________)
15
          The parties hereto, by and through their respective attorneys, stipulate and
16
     agree that the sentencing currently calendared for September 13, 2010, be
17
     continued to December 13, 2010 at 9:00 a.m.
18
          This continuance is agreed to as the parties require additional time to
19
     complete the U.S.S.G. § 5C1.2(a)(5) process. The parties have been unable to
20
     complete Ms. Keomounepane’s safety valve interview.
21
          The parties also agree that any delay resulting from this continuance shall
22
     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
23
     3161(h)(8)(A) and 3161(h)(8)(B)(I).
24
25
     DATED: September 8, 2010           /s/ Laurel Montoya       __      __
26                                      LAUREL MONTOYA
                                        Assistant United States Attorney
27                                      This was agreed to by Ms. Montoya
                                        via email on September 8, 2010
28

                                            1
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 1   DATED: September 8, 2010          /s/ Roger K. Litman    __
                                       ROGER K. LITMAN
 2                                     Attorney for Defendant
                                       BOUAVONE KEOMOUNEPANE
 3
 4
 5
 6                                 IT IS SO ORDERED.
 7
     Dated: September 8, 2010              /s/ Oliver W. Wanger
 8   emm0d6                           UNITED STATES DISTRICT JUDGE
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